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                        EXHIBIT Z
           [PUBLIC VERSION]




                              CONFIDENTIAL


IN ACCORDANCE WITH A           PROTECTIVE ORDER, THE ENCLOSURE(S)


SHALL BE TREATED AS CONFIDENTIAL AND SHALL NOT BE SHOWN TO


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PARAGRAPH 8.2 OF THE PROTECTIVE ORDER.
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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING


CUSTODIA BANK, INC.,
2120 Carey Avenue, Suite 300
Cheyenne, WY 82001
                                      Civil Case No.: 1:22-CV-00125-SWS
     Plaintiff,

             v.

FEDERAL RESERVE BOARD OF
GOVERNORS,
Constitution Ave NW & 20th St NW
Washington, DC 20551

FEDERAL RESERVE BANK
OF KANSAS CITY,
1 Memorial Drive
Kansas City, MO 64108,

     Defendants.



                    EXPERT REPORT OF KATIE S. COX
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      I, Katie S. Cox, declare and state as follows:

I.    INTRODUCTION

             My name is Katie S. Cox and I have been asked to prepare an expert

report on behalf of Custodia Bank, Inc. (“Custodia”) in this case pending before the

United States District Court for the District of Wyoming.

             I have been an advisor to Custodia since May 2020, and I also serve as

an observer on Custodia’s audit committee. In my role as an advisor, I have

participated in telephone calls and meetings with officials from the Federal Reserve

Bank of Kansas City and the Board of Governors of the Federal Reserve System

(“the Board”) concerning both Custodia’s master account application and its Federal

Reserve membership application.

             As an advisor to Custodia, I am compensated in two ways. First, I am

paid a monthly retainer of $2,500. Second, I have received stock options, none of

which I have exercised.

             My compensation for providing an independent written analysis in this

Report is $500 per hour. My compensation and my role as an advisor to Custodia

are in no way contingent on the opinions expressed in this report.

             Neither my connection to Custodia, nor my compensation, has affected

my opinions in this matter. They are the same opinions I would express if I were

not an advisor to Custodia.

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            In formulating the opinions contained in this report, I have considered

my training, knowledge, and experience working in the Federal Reserve System for

over three decades, my current work as a regulatory consultant, and the materials

cited in Exhibit 1 to this Report. In addition, I have considered my first-hand

experience as an advisor to Custodia, including my interactions with personnel from

the Board and from the Federal Reserve Bank of Kansas City.

II.    SUMMARY OF OPINIONS

            Based on my experience working in the Federal Reserve System for

over three decades, my review of the relevant materials, and my communications

with the Federal Reserve Bank and Board as a Custodia advisor, it is my opinion

that the Board intervened in Custodia’s request for a master account and exercised

control over the denial of Custodia’s master account. This overarching opinion is

supported by the following which will be explained in more detail below:

               a. The Board, not the Reserve Bank, determined whether Custodia

                   was eligible for a master account;

               b. Board intervention halted the Kansas City Reserve Bank’s

                   examination of Custodia and thwarted Custodia’s entitlement to

                   a master account;




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                c. The Board’s denial of Custodia’s membership application

                   effectively prevented the Reserve Bank from approving the

                   master account application;

                d. The Board issued Guidelines that gave it control over master

                   accounts for novel banks such as Custodia;

                e. Through a non-public S-Letter process, the Board revised parts

                   of the denial of Custodia’s master account application.

             The above events support my opinion that the Board ultimately

controlled the decision on Custodia’s master account application because whether to

allow Custodia, a novel institution holding custody of crypto assets, into the Federal

Reserve System was a policy decision which only the Board could make.

III.    QUALIFICATIONS

             I hold a Bachelor of Science degree in Commerce with a concentration

in finance from the University of Virginia.

             From 1985 until 1988, I was a financial analyst in the Mergers &

Acquisitions Section at the Federal Reserve Bank of Dallas. In this role, I analyzed

proposals submitted for bank holding company formations, acquisitions, and

mergers involving financial institutions with assets between $20 million and $600

million.



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             From 1988 until 1995, I was a Bank Examiner in the Federal Reserve

System at four different Reserve Banks. In June 1993, I became a commissioned

Federal Bank Examiner, which allowed me to directly supervise examination teams

and be designated the “examiner-in-charge.” As a Bank Examiner, I conducted

examinations of commercial banks, foreign branches, Edge Act Corporations, and

bank holding companies. The scope of work encompassed evaluating internal

control systems and corporate governance, performing loan review, and evaluating

the condition of the entities as related to capital, asset quality, management, earnings,

and liquidity. I reported findings to management of the banking entities and the

individual Reserve Banks in written and oral form.

             I served as an instructor for the Federal Reserve System’s core bank

examiner school from 1992-1995. In this role, I provided instruction to assistant

bank examiners as to how the Federal Reserve analyzes the financial condition of

banks and bank holding companies.

              Between 1995 and mid-1999, I accompanied my husband on two

active duty U.S. Air Force tours. During 1995 through 1997, I provided independent

audit services for various entities operating on U.S. Air Base, Ramstein, Germany.

During the latter part of 1997 until mid-1999, I was an auditor for the U.S. Air Force

Audit Agency. I performed audits of numerous U.S. Air Force units, including

hazardous material handling operations and accounting functions.

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             From 1999, until my retirement in 2020, I worked in the Mergers and

Acquisitions Section at the Board. In 2010, I became a manager in the section. As

a manager, I oversaw the review of the most complex domestic and international

merger and acquisition proposals filed with the Federal Reserve System.             I

collaborated with applicants to address regulatory concerns involving areas such as

the long-term viability of a business plan, direct and indirect proposed owners,

product risk management, concentrations related to revenues or assets, and Bank

Secrecy Act compliance. I reviewed organizational documents, capital instrument

documents, and proposed management and remediation for corporate governance

weaknesses. I presented oral and written briefings to the Governors of the Board to

obtain guidance for proposals that presented novel banking policy questions

(including banking products or services) or involved very large banking institutions.

I served as one of the Federal Reserve’s key drivers in the development of bank

mergers and acquisitions policies.      I provided leadership in developing and

implementing bank regulatory burden reduction initiatives, particularly for U.S.

community banks. While in this role, I saw first-hand how the Board creates policies

and procedures with the goal of ensuring that Reserve Banks are consistent in their

supervision and regulation of banking entities.

             Since May 2020, I have provided bank regulatory consulting services

to a variety of firms, including Custodia. My services have included advising banks

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on their proposals before the Federal Reserve, as well as serving as a subject matter

expert for investment firms to assess the probability of success for large, proposed

mergers such as the TD Bank and First Horizon merger.

             Since May 2022, I have been a consultant to PricewaterhouseCoopers

(“PwC”). I have helped PwC advise traditional and nontraditional financial firms

on a range of regulatory matters, including charter conversions, applications before

bank regulators, regulatory strategy, and risk management.

             All told, I have over 35 years of experience in the Federal Reserve

System, working for both Reserve Banks and the Board, as well as providing bank

regulatory advice to a variety of clients.

IV.    GENERAL BACKGROUND

             The Board is the supervisory authority for the Federal Reserve System,

which is the Central Bank for the United States. Matters of policy are decided

exclusively by the Board, which oversees the Reserve Banks. See 12 U.S.C. § 248(k)

(noting that the Board cannot delegate functions pertaining to “monetary and credit

policies” to Reserve Banks). The Board has many methods by which it ensures that

Reserve Banks comply with its policies. Overall, the Board can “exercise general

supervision over said Federal Reserve Banks.” 12 U.S.C. § 248(j). Additionally,

the Board has specific powers that it can use to ensure that Reserve Banks are

following Board policy, including the review of accounts and records of Reserve

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Banks, 12 U.S.C. § 248(a); removing Reserve Bank officers, 12 U.S.C. § 248(f);

suspending operations of the Reserve Bank, 12 U.S.C. § 248(h); and approving or

rejecting compensation for directors of the Reserve Bank, 12 U.S.C. § 307.

             While the Board is the head of the Federal Reserve, the United States

and its territories are divided into twelve districts, each with a separately

incorporated Reserve Bank. The Board has delegated numerous functions and

responsibilities to those Reserve Banks to carry out governmental monetary and

regulatory policies. Some of the key delegated responsibilities include: (1) the

supervising and examining of certain banking entities in their districts; (2) lending

to depository institutions; (3) providing key financial services that support the

nation’s payment system; and (4) examining certain financial institutions regarding

consumer protection and fair lending laws. See United States Federal Reserve

System, The Fed Explained: What the Central Bank Does 10-11 (Aug. 2021),

available        at       https://www.federalreserve.gov/aboutthefed/files/the-fed-

explained.pdf.    In my experience, while the Reserve Banks are separately

incorporated and have their own presidents and boards of directors, they must defer

to the Board regarding policy matters. See 12 U.S.C. § 248(k).

             In carrying out certain responsibilities, the Reserve Banks provide

accounts and payment services for financial institutions holding accounts at that

Reserve Bank. One type of Federal Reserve application which is evaluated and

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processed by Reserve Banks is the master account application, which allows an

institution to have access to the Federal Reserve’s financial services. Reserve Banks

typically quickly and summarily approve master account applications for traditional

banks. Indeed, Custodia was initially advised that action on its application would

take only five to seven business days. Ex. 1 to Am. Compl, ECF No. 121. However,

as I describe below, Custodia’s master account application did not proceed in the

typical fashion. The ultimate decision denying Custodia a master account, taken

after the application had been pending for years and litigation had ensued, was in my

opinion engineered by the Board. The Board took control of Custodia’s master

account application because the application was linked to the Board’s policy

decision on whether non-traditional financial institutions holding custody of crypto-

assets should be allowed access to Federal Reserve services.

V.    CHRONOLOGY

             Custodia is a Wyoming depository institution founded in 2020. The

bank has a special purpose depository institution charter (“SPDI”) from the State of

Wyoming. It is chartered to provide both traditional U.S. banking services and

certain crypto asset banking services. Custodia offers institutional customers

custody and settlement services for crypto assets, while also offering some

traditional banking services.



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             A master account would provide Custodia direct access to the Federal

Reserve’s payment system. Banks primarily use master accounts to make payments

to each other using Fedwire, a service that allows banks to clear and settle accounts

in real time by instructing the Federal Reserve to adjust the balances in their

respective accounts. Without a master account, Custodia is unable to operate as

designed in its business plan and relies on a correspondent banking relationship.

Using a correspondent banking relationship (as Custodia presently must do to

operate) is more expensive and introduces additional risks, particularly counterparty

settlement risk.

             In early 2020, Custodia began communicating with the Kansas City

Reserve Bank concerning its plans to apply for a master account. On October 29,

2020, Custodia formally applied to the Reserve Bank to obtain a master account.

             Rather than simply process the request for a master account (as is

typically the case for eligible depository institutions), the Reserve Bank subjected

Custodia to a safety and soundness examination. The Reserve Bank’s process in

examining Custodia was initially cordial and cooperative. Many of the Reserve

Bank’s examination staff took courses and obtained certifications in order to better

understand the crypto asset industry and how Custodia’s business model would fit

into that industry. Custodia worked directly with Reserve Bank staff to help them

understand not only the crypto industry, but also how Custodia’s business plan

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would operate.      The Reserve Bank examiners seemed genuinely excited and

interested to be assigned to the Custodia review and appeared to look forward to

having such a banking entity in their district. Their communications with Custodia,

both in writing and orally, signaled that there were no insurmountable issues. See,

e.g., FRBKC-00003695 (describing Custodia management as “impressive” and

“seasoned”);

FRBKC-00003607 at 20 (noting that Custodia would not “impact financial

stability”). In January 2021, an officer of the Reserve Bank stated that she “did not

see any showstoppers” regarding the bank’s application, indicating that the Reserve

Bank was open-minded about Custodia’s master account application and believed

that the application was ultimately approvable.

               In August 2021, Custodia also applied to the Board for membership in

the Federal Reserve, which would subject Custodia to regulation by the Federal

Reserve System in addition to regulation by the State of Wyoming.

               On January 27, 2022, the Reserve Bank notified Custodia that it met

“the threshold legal definition of an entity that is eligible for a master account.”

FRBKC-00000488.

               In mid-December 2022, however, all Reserve Bank examination work

for Custodia Bank halted, as did communications between the Reserve Bank and

Custodia Bank.

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             On January 27, 2023, three actions occurred in quick succession that

prevented Custodia from obtaining a master account.         First, the Board denied

Custodia’s application to become a member of the Federal Reserve, citing among

other things, the bank’s “novel business model and proposed focus on cryptoassets.”

Second, the White House issued a statement on the risks of crypto assets. The

statement made clear that the administration viewed with skepticism financial

institutions engaging with crypto assets and that the administration was working

with banking regulators to develop safeguards and to “continue these efforts,

including those designed to address and limit financial institutions’ exposure to the

risks of digital assets.” White House, The Administration’s Roadmap to Mitigate

Cryptocurrencies’ Risks (Jan. 27, 2023). And finally, the Federal Reserve Bank of

Kansas City communicated the denial of Custodia’s application for a master account.

             For the reasons explained below, based on my experience working in

the Federal Reserve System, it is my opinion that the Board’s concern over novel

banks engaging with crypto assets as a policy matter dictated the denial of Custodia’s

master account application. The Board not only set policy; in this case it intervened

in the decision-making process for Custodia’s master account application in order to

ensure its desired outcome.




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VI.    OPINIONS

             The story of the Federal Reserve Board’s involvement in Custodia’s

efforts to seek a master account (and the ultimate denial of the bank’s application)

is clear from the record in the case. I ground my opinions on the combination of

these documents, as well as my experience and my first-hand involvement in

dealings with the Board and the Kansas City Reserve Bank. Beginning at his

confirmation hearing on January 11, 2022, Board Chair Jerome Powell expressed

concern to the Senate Committee on Banking, Housing, and Urban Affairs about

granting master accounts to SPDIs and other “novel banks”

             During the confirmation hearing, Senator Cynthia Lummis of

Wyoming asked Chair Powell about the Board’s treatment of Wyoming SPDIs:

             The Federal Reserve Act says that a depository institution is any
             institution eligible for deposit insurance. The FDIC says, in General
             Counsel Opinion 8867, that an entity is a depository institution if it
             is creating deposit liabilities out of customer assets and is
             characterized by state law as a bank. As you know, Chairman
             Powell, I am terribly concerned about the manner in which
             Wyoming's special purpose depository institutions are being treated
             by the Federal Reserve. We have discussed this. What is your
             reaction to this?

             Chair Powell responded:

             So as we discussed, there are novel charters, and the [“special
             purpose depository institutions”] are one of them, and we want to
             be really careful because they are hugely precedential. They are
             very important from a precedential standpoint. And so we have
             been looking carefully at this, and I would say there are good
             arguments for viewing SPDIs as depository institutions for this
             purpose, and we are looking carefully at it. I do think we will make
             some progress on this, and we can talk about it more offline. But I

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             think you do understand that we--you know, if we start granting
             these there will be a couple hundred of them pretty quickly, and we
             have to think about the broader safety and soundness implications.
             And, you know, it is just hugely precedential. That is really why
             we have taken our time with it. And we appreciate you bringing it
             my attention, and so we can continue to talk about it. (emphasis
             added).

             This excerpt demonstrates that, as early as his confirmation hearing,

Chair Powell saw the issue of SPDIs as one for the Board since historically the Board

has been in charge of making “precedential” policy decisions for the Federal Reserve

System as a whole. Deciding whether to allow novel institutions holding crypto

assets access to the Federal Reserve System was such a precedential decision, within

the Board’s authority, not the authority of the Reserve Banks. See 12 C.F.R.

265.20(a)(17) (2023) (excepting from powers granted to Federal Reserve Banks

matters that raise “significant legal, supervisory, or policy issues”).

             By stating that the Board was “looking carefully at this,” Chair Powell

made clear that the Board was, and would continue to be, involved in the decision-

making process for whether SPDI banks should be permitted to access the Federal

Reserve. He also signaled that master accounts for nontraditional institutions such

as Custodia should not be granted without Board approval. Reserve Banks are not

deaf to such statements; in my experience, staff are attuned to Board

pronouncements and act accordingly.




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       A.       The Board, Not the Reserve Bank, Determined Whether Custodia
                Bank Was Eligible for a Master Account.

                Despite the Reserve Bank’s position (in this litigation and generally)

that it controls the master account process, it has been my uniform experience that

the Federal Reserve Board makes key legal determinations for the Federal Reserve

System, particularly when it comes to policy matters. The Board would not involve

itself in run-of-the-mill requests for master accounts.        But a novel-chartered

depository institution is expected to be singled out for Board scrutiny. That was the

case with The Narrow Bank (“TNB”) and now Custodia as well as other novel

institutions.

                Custodia is not an outlier when it comes to Board influence on

applications for master accounts.       Interference by the Board derailed TNB’s

application for a master account. TNB’s business model was similar to Custodia’s

in that it intended to accept deposits but not make loans. On April 27, 2018, TNB

submitted an application to the Federal Reserve Bank of New York requesting a

master account. Soon thereafter, the New York Reserve Bank’s General Counsel

wrote that the Reserve Bank was not prepared to issue the account because “senior

policy officials at the Board of Governors have expressed the strong view that the

New York Fed should not approve TNB’s request for a master account.” TNB-

0000002. To date, the New York Reserve Bank has not decided TNB’s master

account application.
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              In November 2020, shortly after Custodia applied for a master account,

the Board created a “Nontraditional Account Access Workstream Structure” which

used resources and personnel from the Board as well as various Reserve Banks,

including Kansas City.       See FRBKC-00004899; FRBKC-00004902.                 This

workstream was formed in direct response to the increasing number of requests for

master account access from novel institutions and the Board’s perceived need to

provide “policy guidance and practical coordination to support Reserve Bank

account decisions that are prudent, consistent, and timely.” FRBKC-00004902. The

first novel institution to be considered by the Board’s newly created workstream was

Custodia, confirming that the Board viewed the master account decision as a policy

matter. Id. Chair Powell himself, in his above-cited Congressional testimony, called

the Custodia decision “just hugely precedential.” I believe that the Workstream was

one of the vehicles that the Board used to communicate its views that Custodia’s

master account application should be denied.

              Throughout 2021, Custodia, its outside counsel and I, had a series of

calls with Board staff regarding Custodia’s eligibility for a master account. Notably,

we primarily conducted those calls with Board staff rather than with Reserve Bank

staff and it was very clear that the Board’s General Counsel would make the

eligibility decision.



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             In my experience, the specific decision on whether a novel institution

such as Custodia was eligible for a master account is the type of decision that the

Board would traditionally make. And in fact, on August 2, 2021, the Kansas City

Reserve Bank sent Custodia a letter stating that “it would be inappropriate for us to

issue a decision” on Custodia’s master account application before the Board clarified

its interpretation of Custodia’s “legal eligibility for a master account under the

Federal Reserve Act.” FRB-AR-003858; see also FRBKC-00009854 (draft letter

stating that the “Reserve Bank does not have authority to interpret legal eligibility”).

             Making it incontestably clear that a decision on Custodia’s eligibility

rested squarely with the Board, on January 27, 2022, Mark Van Der Weide, the

General Counsel for the Board, told Custodia’s outside legal counsel in a conference

call that Custodia satisfied the threshold definition of an entity eligible to maintain

a master account. See FRBKC-00000446 at 2. While Craig Zahnd, the General

Counsel, of the Kansas City Reserve Bank, formally conveyed the decision on

eligibility to Custodia by letter, he did so by referencing Mr. Van Der Weide’s call

to Custodia’s outside counsel. See FRBKC-00000234 (“As was recently conveyed

to your counsel ... it has been determined that Avanti satisfies the threshold definition

of an entity eligible to maintain a master account.”).        It could not be clearer,

therefore, that as to a master account for Custodia, the Board was pulling the strings.



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             The Board’s role in Custodia’s master account application is not

surprising. I would expect the Board to take the primary role in deciding any new

policy questions, such as whether depository institutions holding custody of crypto-

assets are eligible to access the Federal Reserve System.

      B.     Board Intervention Halted the Kansas City Reserve Bank’s
             Examination of Custodia and Thwarted Custodia’s Entitlement to
             a Master Account.

             The Reserve Bank staff began its examination of Custodia Bank on

September 6, 2022. Because Custodia had applied both for a master account with

the Kansas City Reserve Bank and later for membership in the Federal Reserve, the

information from the examination was used to evaluate both the master account and

membership applications. See FRBKC-0000297 (“Our ongoing review of

Custodia’s master account request also leverages information and material from the

September 6, 2022, examination of Custodia as part of the evaluation of Custodia’s

application for membership in the Federal Reserve System.”).

             On October 21, 2022, the Reserve Bank provided Custodia written

results of the initial examination. The Bank identified “numerous exceptions to, or

departures from, safe and sound banking practices in Custodia’s prospective risk

management program compared to the risk management practices that would

typically be expected or required of an operating state member bank under Reserve

Bank supervision.” See FRB-AR-001204 at 1-2. It is typical, however, in my

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experience, for a de novo institution such as Custodia to have numerous risk

management functions not fully operational at the time of the first examination, and

it is customary for the Federal Reserve to conduct at least one follow-up examination

and sometimes more than one. See FRBKC-00013627 (noting there “will likely

need to be multiple exams [of Custodia] given this is a de novo”).

             The October 21, 2022 examination summary from the Reserve Bank

further advised Custodia that its “remediation efforts will subsequently be assessed

by Reserve Bank staff at a future date, which may include onsite

reviews/examinations    and/or   additional   request   for   information   deemed

necessary…the Reserve Bank will continue to engage in periodic discussions with

Custodia’s senior management regarding the status of its operations and other

matters pertinent to the membership application.” FRB-AR-001204 at 6. In the

following months, and despite regular communication, Reserve Bank staff provided

no indication that any of the issues were unexpected for a de novo institution, much

less insurmountable.

             Custodia staff and I had bi-weekly calls with the Reserve Bank, and

sometimes Board staff, to discuss Custodia’s progress in addressing the examination

findings as well as to inquire about the status of the membership and master account

applications. The last of these calls occurred December 15, 2022, and it included

Board staff. During this call, Caitlin Long, the CEO of Custodia Bank, informed

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System staff that 12 of the 14 priority one examination items and 96% of the Bank

Secrecy Act/Anti-Money Laundering issues had been remediated.

             Following this call, it appeared that Custodia was well on its way to

securing a master account. Custodia had been found eligible for such an account,

had a supervisory examination, and had addressed nearly all of the priority one

problems identified by the bank examiners prior to any subsequent examination.

             On December 20, 2022, Custodia provided a very comprehensive

response to the Reserve Bank examiners, as well as a remediation plan for all priority

two examination findings. See Letter from Custodia to the Ross Crouch (Dec. 20,

2022).

             On December 16, 2022, the Kansas City Reserve Bank unexpectedly

canceled the bi-weekly calls, not just for that week, but going forward. This was

highly unusual. In my experience, following an initial examination, Reserve Bank

staff will work with the financial institution to remediate identified risks. In fact, as

noted above, the Reserve Bank stated its intentions to do so in its examination

findings letter to Custodia. FRB-AR-001204 at 6. That did not happen here.

              Custodia was unable to substantively communicate with Federal

Reserve staff until January 23, 2023. On that day, Board staff unexpectedly

informed Custodia that the staff was recommending denial of the bank’s application

to become a member of the Federal Reserve System.

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             Board staff did not provide any advance notice or an opportunity to

correct any perceived problems. The Board staff gave Custodia only 48 hours to

decide whether to withdraw its application. Ordinarily, banks in this position are

afforded at least one week to decide whether to accept a denial or withdraw an

application. During my 21 years with the Board, in the mergers and acquisition

section, I made at least 50 such calls indicating that a denial would be recommended;

I cannot recall a single time when the Board gave an applicant only 48 hours to

respond. Rather than having a week or more to consider the Board’s likely denial,

Custodia was forced to convene a meeting of its board of directors on short notice

to decide its course of action. Custodia decided not to withdraw its membership

application. Custodia communicated this decision to the Board’s General Counsel

on January 26, 2023.

             Also on January 26, 2023, Custodia received an email from a reporter

who notified Custodia that all banks with business plans involving crypto assets that

had pending applications at both the Federal Reserve and the Office of the

Comptroller of Currency (the federal regulator for national banks) were being asked

to withdraw their applications.

             On January 27, 2023, the Board of Governors voted to deny Custodia’s

membership in the Federal Reserve. See FRBKC-00005326. The Board issued a

press release making public its denial of Custodia’s membership application on that

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same day. See Bd. of Govs. of the Fed. Reserve, Federal Reserve announces denial

of application by Custodia Bank, Inc., to become a member of the Federal Reserve

System            (Jan.          27,           2023),           available           at

https://www.federalreserve.gov/newsevents/pressreleases/orders20230127a.htm.

             Simultaneously, the White House released a statement highly critical of

cryptocurrency. The White House statement observed that “some cryptocurrency

entities ignore applicable financial regulations and basic risk control—practices that

protect the country’s households, businesses, and economy.              In addition,

cryptocurrency platforms and promoters often mislead consumers, have conflicts of

interest, fail to make adequate disclosures, or commit outright fraud.” White House,

The Administration’s Roadmap to Mitigate Cryptocurrencies’ Risks (Jan. 27, 2023),

available    at     https://www.whitehouse.gov/nec/briefing-room/2023/01/27/the-

administrations-roadmap-to-mitigate-cryptocurrencies-risks/.

             Based on my experience working with the Federal Reserve System, I

do not believe that the simultaneous timing of the White House statement and the

Board’s denial of Custodia’s Federal Reserve membership application was

coincidental. During my career with the Federal Reserve, I do not recall the White

House issuing a policy statement or an Executive Order related to a Board matter

coincident with the Board’s action on a proposal. I am aware of the White House

intervening on at least two proposals for which I was the principal Board analyst.

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However, on both occasions, the White House directly contacted a Governor of the

Board to orally convey the White House’s preferred action on a proposal.

            It is my opinion that the Board’s denial of Custodia’s membership

application, in close coordination with the White House’s anti-crypto policy

statement, dictated the outcome of Custodia’s master account application. Further,

as will be explained below, under the Board’s Payment Systems Access Guidelines,

the Board’s membership decision laid the foundation for denying Custodia’s

application for a master account, and more generally, the foundation to keep all

banks with novel business models (e.g., Tier 3 banks) from obtaining master

accounts.

      C.    The Board’s Denial of Custodia’s Membership Application
            Effectively Prevented the Reserve Bank from Approving the
            Master Account Application.

             Given the Board’s denial of Custodia’s membership application, and

the White House’s near-simultaneous statement on the risks of crypto assets, the

decision to deny Custodia’s master account application—which was communicated

by the Kansas City Reserve Bank staff a few hours later—was preordained.

            Kansas City staff were charged with evaluating both Custodia’s

membership application and its master account application. Throughout this parallel

review process, the master account evaluation and the membership evaluation

proceeded in tandem.

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             For example, a May 10, 2022 email from Ben McGhee of the Reserve

Bank stated that “there is a lot of overlap” between the membership and master

account reviews. FRBKC-00002200; see also FRBKC-00003428 (explaining that

the supervisory review would feed into the membership and master account

applications). Similarly, Christi May-Oder sent an email indicating that “[i]t would

be helpful to hear more about how their [sic] looking at it from a membership

perspective” when deciding if the master account evaluation should cover Day 1

operations or longer-term plans. FRBKC-00000480; FRBKC-00004282 at 2 (“We

will look to examiners to identify any commitments related to potential Reserve

Bank membership and any conditions to a potential master account access request

decision.”). And, most notably, on December 6, 2022, Chris Gaul-Pearson emailed

“I’ve been asked to see if you could help us make sure that we are not getting out of

sync with the membership side. We do not want to contradict one another.”

FRBKC-00002132 at 2.        Based on the Kansas City Reserve Bank’s fear of

contradicting the Board’s decision on membership, the Kansas City Reserve Bank

determined that its master account decision would “follow up very quickly after the

membership decision.” FRBKC-00001668.

             Because the two evaluations were running in parallel, the Board’s

denial of Custodia’s membership application effectively dictated the Kansas City

Reserve Bank’s decision on Custodia’s master account application. The Board’s

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membership denial order was an unprecedented 86 pages long, and presented an

extremely negative (but often erroneous) depiction of Custodia and its business plan.

It also was starkly at odds with more positive assessments that Kansas City staff had

expressed about Custodia during their review process.




Further, I note that none of the written correspondence from the Reserve Bank had

introductory paragraphs that described insurmountable concerns. See, e.g., FRB-

AR-001204. In my experience, if Federal Reserve System staff believed Custodia’s

proposals were not approvable, they would have included such language.

             Following the Board’s publication of the membership denial, there was

no possibility that Custodia’s master account application would get approved. In

fact, the Reserve Bank’s denial of Custodia’s master account application came just

hours after the Board’s denial action on the membership proposal. This clearly was

a coordinated action. In my experience, the System works very hard to publicly

present a united and consistent approach to regulating its banking entities throughout

all twelve Reserve Banks. In light of the Board’s Guidelines governing master

accounts and the newly announced tiering classifications (discussed below), the

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Reserve Bank functionally did not have any discretion in acting on Custodia’s master

account proposal independently of the Board’s adverse action on the membership

application.

      D.       The Board Issued Guidelines That Gave It Control over Master
               Accounts for Novel Banks Such as Custodia.

               On May 11, 2021, the Board proposed Guidelines for Evaluating

Account and Services Requests (the “Guidelines”), which became final on August

15, 2022. The Guidelines did not exist before Custodia filed its application for a

master account.

               The Guidelines were designed so “that the Reserve Banks [would]

apply a consistent set of guidelines when reviewing [] access requests to promote

consistency across Reserve Banks and to facilitate equitable treatment across

institutions.” 87 Fed. Reg. 51,099 at 51,106 (Aug. 19, 2022). As the Board

explained, there was a particular need for the Guidelines due to “a recent uptick in

novel charter types being authorized or considered by federal and state banking

authorities across the country. As a result, the Reserve Banks are receiving an

increasing number of inquiries and access requests from institutions that have

obtained, or are considering obtaining, such novel charter types.” 87 Fed. Reg.

51,099 at 51,099 (Aug. 19, 2022).

               The Guidelines created a System-wide policy for how Reserve Banks

would adjudicate master account applications.        Section 1 of the Guidelines
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establishes six principles focused on risk management and mitigation. Section 2

describes how those principles will be applied within a three-tier review structure

with different levels of scrutiny corresponding to the level of risk that the Board

assigned to different entity categories. Tier 1 institutions are eligible institutions that

are federally insured. Tier 2 institutions are not federally insured but are subject to

prudential supervision by a federal banking agency. Tier 3 institutions include

eligible institutions like Custodia that are not federally insured, do not have a holding

company subject to Federal Reserve oversight, are chartered under state law and are

not subject to prudential supervision by a federal banking agency, or have a holding

company that is not subject to Federal Reserve oversight.

              Under the Guidelines, Reserve Banks can grant Tier 1 institutions

master accounts in a streamlined review process without much scrutiny. Traditional

financial institutions typically have federal insurance and are thus granted an easier

path to Federal Reserve access due to their Tier 1 status.

              The presumption is reversed for Tier 2 and 3 institutions, which lack

federal deposit insurance and/or a federal regulator. Reserve Banks must exercise

increased scrutiny over applications from these institutions, including consultation

with the Board. This “coordination” between the Reserve Banks and the Board

effectively gives the Board veto power over which, if any, Tier 2 and 3 institutions



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receive a master account. In reality, though, the Board exercises its power long

before any “recommendation” gets made by the Reserve Bank.

            Notably, since the Board started publicly keeping track of master

account requests on December 23, 2022, only Tier 1 institutions have been granted

master accounts. Conversely, the only master account applications that have been

rejected have come from Tier 3 institutions. See generally Bd. of Govs. of the Fed.

Reserve,    Master     Account    and     Services    Database,     available    at

https://www.federalreserve.gov/paymentsystems/master-account-and-services-

database-access-requests.htm.

            It is my opinion that the Board developed the Guidelines to exert

control over Custodia’s master account application and similar future applications

by novel banks. The Board issued the proposed Guidelines in May 2021, almost

seven months after Custodia had applied for a master account. The Kansas City

Reserve Bank made it clear that it would not decide Custodia’s master account

application until the Guidelines were finalized because such a decision would be

“informe[d]” by the Guidelines, FRBKC-00000387 at 3, and that it would be

“inappropriate” for the Kansas City Reserve Bank to reach a decision ahead of the

finalized Guidelines. FRB-AR-003858.

            On August 15, 2022, just one day before Defendants’ motions to

dismiss were due in this litigation, the Board issued its final Guidelines. A month

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later, the Kansas City Reserve Bank commenced evaluating Custodia as a Tier 3

institution. FRBKC-00001601. And one month after that, the Kansas City Reserve

Bank informed Custodia that “[i]n applying the Account Access Guidelines, FRBKC

has determined that under its current structure, Custodia qualifies as a Tier 3

institution, posing the highest level of risk and subject to the strictest level of

review.” FRBKC-00000297. But the Kansas City Reserve Bank also noted that

“Custodia may become a Tier 2 institution under the Account Access Guidelines if

it obtains membership in the Federal Reserve System.” Id.

             Based on my experience working for the Board, the development and

publication of the draft Guidelines shortly after Custodia applied for a master

account, and the Kansas City Reserve Bank’s swift reliance on the Guidelines in

assessing Custodia’s master account application, was not a coincidence. Instead,

given Custodia’s novel proposal to provide custody services for crypto assets as well

as Custodia’s novel state banking charter, it is my opinion that the Board was

particularly concerned with Custodia gaining access to the Federal Reserve System

and therefore used the Guidelines to set up a process to ensure that the Board would

be able to exert control over the ultimate decision through Custodia’s status as a Tier

3 institution. See FRBKC-00000394 (acknowledging that the connection between

Custodia’s master account application and the initial proposal of the Guidelines is

“technically accurate”).

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             The Board’s desire to use the Guidelines to exert control over

Custodia’s master account application was ultimately successful. In March 2022,

Kansas City Reserve Bank staff acknowledged “we do not anticipate Custodia

obtaining a master account unless Custodia is granted FDIC insurance or becomes a

Reserve member” because without FDIC insurance or Federal Reserve membership,

Custodia would be a tier 3 institution. FRBKC-00004943. When asked about the

practical effect of a tier 3 status, Christi May-Oder, an Assistant Vice President with

the Kansas City Reserve Bank, admitted that “[e]ntities falling into Tier 3 will have

a high bar to cross to get an account.” Id. Ross Crouch who was responsible for

conducting Custodia’s examination agreed that “approval isn’t anticipated if Tier 3

route is taken.” Id. Using the tiering system that it had developed in direct response

to Custodia’s master account application, the Board effectively denied Custodia’s

master account application by denying its membership application.

             Issuance of the Guidelines gave the Board a way to control the master

account application process, ensuring that even novel banks deemed eligible for

master accounts such as Custodia, would find it almost impossible to secure them.

      E.     Through the Non-Public S-Letter Process, the Board Revised
             Parts of the Denial of Custodia’s Master Account Application.

             The Board’s creation of System-wide policies to deal with applications

from novel institutions did not end with the creation of the “Nontraditional Account

Access Workstream Structure” or the publishing of the Guidelines. Rather, the
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Board took a further step when, on January 17, 2023, just days before the Reserve

Bank denied Custodia Bank’s master account application, the Board finalized and

issued internal guidance letter, S-2677. FRB-AR-000014. This guidance is internal

to the Federal Reserve System and hidden from public view. The S-2677 letter set

out a mandatory review process that requires Reserve Banks to “consult” with the

Board on Tier 2 and 3 institutions. One or more drafts of this internal guidance letter

were circulated to the Kansas City Reserve Bank in 2022 and possibly much earlier,

but to date neither the Board nor the Reserve Bank have produced those drafts or the

communications surrounding them. It is my opinion that the letter itself, including

the development of the draft versions, was another mechanism by which the Board

exercised control over the outcome of Custodia’s master account application.

             According to the S-2677 letter, Reserve Banks are required to provide

the Board with early notification when Tier 2 or 3 institutions apply for a master

account. FRB-AR-000014 at 3. This early notice allows the Board to influence the

evaluation of Tier 2 and 3 institutions from the outset of the master account process.

In addition, the Letter requires Reserve Banks to consult directly with a Division

Director at the Board prior to communicating a decision on a master account to a

Tier 2 or 3 institution. FRB-AR-000014 at 3. Under the terms of the S-2677 Letter,

the Kansas City Fed could not approve Custodia’s application without first

“consult[ing]” with the Board. Id. Notably, this presumption against granting access

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to Tier 2 and 3 institutions is reversed for Tier 1 institutions for which a Reserve

Bank must notify the Board only if it is considering denying a master account

application. Id.

             In my experience, the requirement that a Reserve Bank consult directly

with a Division Director is highly unusual. Typically, consultation with a Board

staff member is sufficient, and the Board staff member decides whether to elevate

the matter within the Board.      Requiring a Division Director to be consulted

effectively removes decision-making authority from Reserve Banks. While Reserve

Banks may work collaboratively with Board staff, Reserve Banks would be

extremely reluctant to countermand the opinion of a Board Division Director, who

reports directly to the Governors of the Board. By requiring consultation with a

Division Director prior to the communication on a master account decision, the

Board effectively established veto power over Reserve Bank decisions on master

account applications for Tier 2 and 3 institutions.

             The Board’s mandatory review process was deployed for the first time

when evaluating Custodia’s master account application. FRBKC-00000314

(describing “muddl[ing] through this process for more or less the first time”). On

January 6, 2023, at a time when the Kansas City Reserve Bank still had the Custodia

master account application under consideration, Judith Hazen, a Reserve Bank Vice

President, sent an email and draft recommendation memorandum to members of the

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Board. See FRBKC-00012350 at 2 (“Pursuant to the proposed S Letter, we are

providing our pre-decisional draft memorandum regarding potential actions on

Custodia’s request for a master account”). While the Kansas City Reserve Bank

memo recommended denial of Custodia’s master account application due to the

earlier Board intervention described above, the Board’s comments on and edits to

the memo recommending master account denial served as the final nail in the coffin.

             The Kansas City Reserve Bank’s recommendation memo regarding

Custodia’s master account application received heavy editing from Board staff. As

an initial matter, the Board requested that the Kansas City Reserve Bank revise the

memo to “explicitly discuss the application of the Board’s Account Access

Guidelines to Custodia’s request.” FRB-AR-000326. The Board was expressly

linking the recommendation memo to the Guidelines under which Custodia was a

Tier 3 institution, virtually certain to be denied.

             The Board also tried to obfuscate the effect of being a Tier 3 institution

under the Guidelines. In a comment to one sentence, the Board asked, “[a]re you

asserting that providing an account and/or services to any tier 3 institutions (without

a federal regulator) would be contrary to Board policies?” The Board then directed

the Kansas City staff to “rework” this sentence. FRB-AR-000326 at 8. The resulting

edit removed the implication that no Tier 3 institution could ever qualify for a master

account (to preserve the fallacy that Tier 3 status was not a de facto denial), and

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obscured the fact that Custodia was inevitably going to be denied a master account

due to its Tier 3 status.

              The remaining Board-provided editing was nearly all negative towards

Custodia’s master account application. Board staff requested that there be particular

emphasis and elaboration on matters related to a high risk, highly volatile, so-called

“monoline business,” the alleged fostering of illicit activities just by engaging in

crypto activities, and significant Bank Secrecy Act/Anti-Money Laundering

(“BSA/AML”) risks. See, e.g., FRB-AR-000326 (Board comment on the “lack of

visibility” for Custodia given the “monoline business model and the high volatility

of the crypto industry”); id. at 2 (suggesting discussion of “BSA/AML risks”); id. at

3 (suggesting discussion of risks of “unregulated exchanges and cryptocurrencies”).

              If the goal is for decision makers in the System to deny a proposal,

using any combination of words such as high risk, high volatility, monoline business

model, illicit activities, and BSA/AML risk, will achieve that result. Decision

makers in the System very rarely will approve a proposal that involves one of these

characteristics. Board staff doomed any chances of approval of Custodia’s master

account proposal by editing the Reserve Bank’s recommendation memo to overly

emphasize such risks. The Board’s comments on and edits to the memorandum

effectively ensured that the application would be denied.



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             Moreover, these edits from the Board staff contravened written

assessments from Reserve Bank staff about Custodia reflected in earlier documents.

See, e.g., FRBKC-00002183 (expressing doubt that issues with “monetary base size

or collateral silos is likely to be a concern for the next several years”);



                                   FRBKC-00000465 (noting that in the event of a

bank failure “there wouldn’t be much to unwind aside from the cash in the master

account”);




             On January 10, 2023, a section chief in the Board’s Division of

Monetary Affairs, via an email sent to several Kansas City Reserve Bank staff, also

provided material edits to the Kansas City Reserve Bank’s recommendation memo

regarding Custodia Bank’s master account application. FRB-AR-000313. These

edits included adding that Custodia could “create more significant monetary policy

implementation ... concerns.” FRB-AR-000315 at 9. This was another edit that

dictated the denial of a master account application. A Reserve Bank would never

want to cause serious disruption to the System’s ability to conduct monetary policy.

Nor would a Reserve Bank question Board staff’s determination that a financial



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institution would seriously disrupt the System’s ability to implement monetary

policy.

             In another edit, the Board removed a sentence stating: “These are broad

policy matters that extend beyond the Reserve Bank and while risk mitigation

strategies are being contemplated by the Federal Reserve Board, practically, it is not

clear how these controls would be implemented.” FRB-AR-000315 at 9. The

removal of this sentence had a twofold effect: first, it further obscured the Board’s

role in the denial of Custodia’s master account application given that only the Board

decides policy questions; second, it withdrew the possibility that Custodia could, at

later date, be granted a master account once certain risk mitigation controls were in

place at the Board level.

             The Reserve Bank staff’s final memo substantially incorporated the

Board’s edits and comments. There appears to have been no effort by Board staff to

help the Reserve Bank make a balanced presentation that included discussion of the

significant risk management framework that Custodia had developed to mitigate

identified risks. Board staff similarly made no effort to include a discussion of the

benefits of bringing a special purpose bank such as Custodia into the federal bank

regulatory system. Relatedly, Board staff did not discuss the risks of not approving

the application and having non-regulated entities provide crypto asset custody

services in the United States. In my experience, if the Board were attempting to

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present an unbiased opinion rather than attempting to ensure a denial, it would have

discussed these balancing factors. Instead, I hold the opinion that the Board-edits

made pursuant to the S-2677 letter were a one-sided presentation intended to justify

the Board’s intended outcome.

             The Guidelines and its implementing S-2677 letter ultimately gave the

Board control not only over the ultimate decision on Custodia’s master account

application, but also the reasoning used for that decision. The nature of the Board’s

edits and comments on the memo similarly ensured the desired outcome for

Custodia’s master account application—denial.

VII. CONCLUSION

             For the reasons explained above, it is my opinion that although the final

Custodia master account decision was issued under the imprimatur of the Reserve

Bank, the Board was pulling the strings.

             This is not surprising. It is the Board which by law must decide policy

questions, and this was a policy question that the Board Chair himself described as

“just hugely precedential.” The years 2020 to 2023 were characterized by vigorous

debate over crypto-assets which always seemed to be in the news – the rise and fall

of the price of Bitcoin, the increasing percentage of the population holding those

assets, regulatory rumblings, comments from Congress and the White House, and

legal actions by agencies such as the SEC asserting that the crypto-assets were

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       EXHIBIT 1
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                 MATERIALS RELIED UPON LIST

• Amended Complaint and Exhibit 1, ECF No. 121
• Bd. of Govs. of the Fed. Reserve, Federal Reserve announces denial of
  application by Custodia Bank, Inc., to become a member of the Federal
  Reserve System (Jan. 27, 2023), available at
  https://www.federalreserve.gov/newsevents/pressreleases/orders20230127a.
  htm.
• Bd. of Govs. of the Fed. Reserve, Master Account and Services Database,
  available at https://www.federalreserve.gov/paymentsystems/master-
  account-and-services-database-access-requests.htm.
• Chair Jerome Powell, Senate Committee on Banking, Housing, and Urban
  Affairs Confirmation Hearing (Jan. 11, 2022)
• Letter from Custodia to Ross Crouch (Dec. 20, 2022)
• Proposed Guidelines for Evaluating Account and Services Requests, 86 Fed.
  Reg. 25,865 (May 11, 2021)
• Guidelines for Evaluating Account and Services Requests, 87 Fed. Reg. 51,
  099 (Aug. 15, 2022)
• U.S. Fed. Reserve Sys., The Fed Explained: What the Central Bank Does,
  available at federalreserve.gov/aboutthefed/the-fed explained.pdf
• White House, The Administration’s Roadmap to Mitigate Cryptocurrencies’
  Risks (Jan. 27, 2023)
• 12 C.F.R. 265.20
• 12 U.S.C. § 248
• 12 U.S.C. § 307
• Documents Produced by the Federal Reserve Bank of Kansas City,
  including: FRBKC-00000054; FRBKC-00000234; FRBKC-00000254;
  FRBKC-00000266; FRBKC-00000276; FRBKC-00000297; FRBKC-
  00000313; FRBKC-00000314; FRBKC-00000319; FRBKC-00000328;
  FRBKC-00000387; FRBKC-00000390; FRBKC-00000394; FRBKC-
  00000397; FRBKC-00000437; FRBKC-00000446; FRBKC-00000460;
  FRBKC-00000465; FRBKC-00000480; FRBKC-00000488; FRBKC-
  00000513; FRBKC-00000565; FRBKC-00000626; FRBKC-00000667;
  FRBKC-00001586; FRBKC-00001601; FRBKC-00001668; FRBKC-
  00001715; FRBKC-00001908; FRBKC-00001961; FRBKC-00002132;
  FRBKC-00002133; FRBKC-00002169; FRBKC-00002172; FRBKC-
  00002183; FRBKC-00002200; FRBKC-00002366; FRBKC-00002407;
  FRBKC-00002424; FRBKC-00002514; FRBKC-00002560; FRBKC-
  00002573; FRBKC-00002695; FRBKC-00002728; FRBKC-0000297;
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  FRBKC-00003309; FRBKC-00003331; FRBKC-00003348; FRBKC-
  00003379; FRBKC-00003421; FRBKC-00003424; FRBKC-00003426;
  FRBKC-00003428; FRBKC-00003432; FRBKC-00003561; FRBKC-
  00003592; FRBKC-00003607; FRBKC-00003671; FRBKC-00003695;
  FRBKC-00003950; FRBKC-00004229; FRBKC-00004256; FRBKC-
  00004282; FRBKC-00004620; FRBKC-00004638; FRBKC-00004647;
  FRBKC-00004677; FRBKC-00004710; FRBKC-00004768; FRBKC-
  00004808; FRBKC-00004836; FRBKC-00004899; FRBKC-00004902;
  FRBKC-00004904; FRBKC-00004916; FRBKC-00004943; FRBKC-
  00004977; FRBKC-00004983; FRBKC-00005021; FRBKC-00005060;
  FRBKC-00005156; FRBKC-00005172; FRBKC-00005232; FRBKC-
  00005243; FRBKC-00005245; FRBKC-00005326; FRBKC-00005333;
  FRBKC-00009364; FRBKC-00009369; FRBKC-00009384; FRBKC-
  00009385; FRBKC-00009848; FRBKC-00009854; FRBKC-00013627;
  FRBKC-0009385
• Documents Produced by the Board of Governors of the Federal Reserve
  System, including: FRB-AR-000001; FRB-AR-000002; FRB-AR-000003;
  FRB-AR-000004; FRB-AR-000014; FRB-AR-000068; FRB-AR-000153;
  FRB-AR-000154; FRB-AR-000162; FRB-AR-000163; FRB-AR-000191;
  FRB-AR-000201; FRB-AR-000204; FRB-AR-000216; FRB-AR-000222;
  FRB-AR-000227; FRB-AR-000233; FRB-AR-000245; FRB-AR-000247;
  FRB-AR-000250; FRB-AR-000298; FRB-AR-000306; FRB-AR-000308;
  FRB-AR-000313; FRB-AR-000315; FRB-AR-000323; FRB-AR-000324;
  FRB-AR-000326; FRB-AR-000333; FRB-AR-000334; FRB-AR-000335;
  FRB-AR-000336; FRB-AR-000345; FRB-AR-000356; FRB-AR-000359;
  FRB-AR-000362; FRB-AR-000461; FRB-AR-000549; FRB-AR-000561;
  FRB-AR-000589; FRB-AR-000629; FRB-AR-000634; FRB-AR-000638;
  FRB-AR-000679; FRB-AR-000740; FRB-AR-000920; FRB-AR-000950;
  FRB-AR-000956; FRB-AR-000964; FRB-AR-000986; FRB-AR-000991;
  FRB-AR-001145; FRB-AR-001191; FRB-AR-001202; FRB-AR-001204;
  FRB-AR-001210; FRB-AR-001211; FRB-AR-001318; FRB-AR-001323;
  FRB-AR-001400; FRB-AR-001409; FRB-AR-001533; FRB-AR-001593;
  FRB-AR-001599; FRB-AR-001607; FRB-AR-001673; FRB-AR-001690;
  FRB-AR-001696; FRB-AR-001754; FRB-AR-001806; FRB-AR-001810;
  FRB-AR-001835; FRB-AR-001853; FRB-AR-001857; FRB-AR-001859;
  FRB-AR-001862; FRB-AR-001865; FRB-AR-001872; FRB-AR-001874;
  FRB-AR-001898; FRB-AR-001983; FRB-AR-002188; FRB-AR-002238;
  FRB-AR-002240; FRB-AR-002248; FRB-AR-002264; FRB-AR-002273;
  FRB-AR-002414; FRB-AR-002415; FRB-AR-002433; FRB-AR-002446;
  FRB-AR-002448; FRB-AR-002471; FRB-AR-00250; FRB-AR-002508;
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  FRB-AR-002671; FRB-AR-002689l FRB-AR-002695; FRB-AR-002709;
  FRB-AR-002729; FRB-AR-002758; FRB-AR-002767; FRB-AR-002909;
  FRB-AR-002947; FRB-AR-002972; FRB-AR-002974; FRB-AR-002976;
  FRB-AR-002979; FRB-AR-002989; FRB-AR-002991; FRB-AR-002993;
  FRB-AR-003072; FRB-AR-003079; FRB-AR-003083; FRB-AR-003088;
  FRB-AR-003233; FRB-AR-003259; FRB-AR-003269; FRB-AR-003276;
  FRB-AR-003282; FRB-AR-003337; FRB-AR-003772; FRB-AR-003793;
  FRB-AR-003858; FRB-AR-003860; FRB-AR-003863; FRB-AR-003917;
  FRB-AR-003939; FRB-AR-003981; FRB-AR-003994; FRB-AR-003997;
  FRB-AR-004014; FRB-AR-004026; FRB-AR-004110; FRB-AR-004113;
  FRB-AR-004116; FRB-AR-004126; FRB-AR-004129; FRB-AR-004134;
  FRB-AR-004138; FRB-AR-004142; FRB-AR-004144; FRB-AR-004178;
  FRB-AR-004195; FRB-AR-004199; FRB-AR-004214; FRB-AR-004225;
  FRB-AR-004353; FRB-AR-004369; FRB-AR-004381; FRB-AR-004383;
  FRB-AR-004385; FRB-AR-004412; FRB-AR-004452; FRB-AR-004549;
  FRB-AR-004558; FRB-AR-004585; FRB-AR-004588; FRB-AR-004593;
  FRB-AR-004594; FRB-AR-004605; FRB-AR-004617; FRB-AR-004619;
  FRB-AR-004783; FRB-AR-004786; FRB-AR-004796; FRB-AR-004805;
  FRB-AR-004807; FRB-AR-004808
• Documents Produced by The Narrow Bank: TNB-0000002
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Katie S. Cox
P.O. Box 171, Elkton, Virginia 22827| 703-640-8666| katie@coxfedlaw.com| LinkedIn KatieSCox
Former federal bank regulator with over 30 years of bank examination and mergers and acquisition
experience. Proven record of identifying and addressing corporate governance issues. Material audit
experience. Significant experience in reviewing mergers and acquisition proposals for permissibility,
strategic viability, and integration success. In-depth expertise regarding U.S. federal and state regulation
of digital assets. Demonstrated ability to provide a regulator’s point of view to make an organization
regulatory compliant as well as financially successful.
Corporate Governance Skills
•   Board member of the Virginia State Golf Association. Serve on the Strategic Planning, Governance and
    Finance Committees.
•   Audit committee member of Custodia Bank, a digital asset products and service provider.
•   Key presenter for the Federal Reserve’s Large Banking Institution Director Orientation Program,
    which provides regulatory training for new directors of U.S. banking institutions with assets between
    $10 billion and $50 billion.
•   Contributor to Federal Reserve Guidance SR 15-15 Supervisory Concerns Related to Shareholder
    Protection Arrangements, which describes unsafe and unsound issues related to certain provisions in
    shareholders’ capital raising instruments.
•   Federal bank examiner experience in assessing corporate governance adequacy, which included
    reviewing sufficiency of board packages and evaluating board member composition and effectiveness
    of oversight.
Digital Transformation Regulatory Affairs Skills
•   Regulatory affairs advisor for a de novo depository institution which will solely focus on digital asset
    products and services. This institution applied with the Federal Reserve System for a master account
    and is working towards being the first U.S. digital asset-focused bank to receive such an account.
•   Stay apprised of actions of U.S. regulators and legislators regarding a U.S. central bank digital currency
    as well as other digital assets and blockchain technology.
Mergers & Acquisitions Skills
•   Key official responsible for mergers and acquisitions in the Federal Reserve System. Ensured that
    proposals met all statutory factors, including strategic future prospects; managed the review of
    proposals in a timely fashion; and developed recommendations for action on proposals.
•   Presented policy setting or significantly large proposals to numerous chairs of the Federal Reserve,
    including Greenspan, Bernanke, Yellen and Powell, to seek a decision of approval or denial.
•   Developed key regulatory M&A guidance, including SR 13-7 State Member Bank Branching
    Considerations and SR 14-2 Enhancing Transparency in the Applications Process. This innovative
    guidance was designed to convey to the public mergers and acquisitions regulatory concerns that can
    hinder proposals.
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                                                KATIE S. COX




Work Experience
PwC

May 2022- Present
Consultant, Financial Services Risk & Regulatory Practice
Advise clients on a range of regulatory matters, including charter conversions, applications, regulatory
strategy, and risk management. Assist a range of traditional and nontraditional financial services firms
with respect to regulatory communications and engagement strategies.

Fitco Consulting Pte, Limited
July 2021 – January 2023
Financial Services Regulatory Consultant
Fitco is an international company that connects subject matter experts with private and public entities.
Currently advise several Asian clients regarding U.S. banking regulators’ economic and digital assets
policies as well as U.S. legislators’ actions. Areas of focus include the Federal Reserve’s Federal Open
Market Committee actions, the Federal Reserve’s on-going consideration of developing a central bank
digital dollar, and U.S. regulatory and legislative efforts concerning stablecoins and other digital assets.

Custodia Bank, Inc. (formerly known as Avanti Financial Group)
May 2020 – Present
Advisor
Custodia Bank is a de novo special purpose depository institution which will engage in a range of digital
assets payments, custody, securities, and commodities activities for institutional customers.
Responsibilities include providing business, industry, regulatory affairs, and product advice, as well as
guidance related to the company’s business strategies. Provide government relations services. Also serve
on the company’s audit committee.


Board of Governors of the Federal Reserve System (Board)
Mergers & Acquisitions Section
November 2010 – March 2020
Manager
Oversaw the review of the most complex domestic and international merger and acquisition proposals
filed with the Federal Reserve System. These proposals involved the offering of fintech products and
services such as artificial intelligence, cryptocurrency, blockchain technology, and innovative money
transmissions. These proposals also included community bank acquisitions. Collaborated with
applicants to address regulatory concerns involving areas such as the long-term viability of a business
plan, direct and indirect proposed owners, product risk management, concentrations related to revenues
or assets, and Bank Secrecy Act compliance. Reviewed organizational documents, capital instrument
documents, and proposed management in order to identify corporate governance weaknesses. Presented
oral and written briefings to the Governors of the Board to obtain guidance for proposals that posed novel
banking policy matters (including banking products or services) or involve very large banking
institutions. Served as one of the Federal Reserve’s key drivers in the development of bank mergers and
acquisitions policies. Provided leadership in developing and implementing bank regulatory burden
reduction initiatives, particularly for U.S. community banks. Served as the Federal Reserve System’s
subject matter expert on Regulation W, which governs transactions between banks and their affiliates.


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                                               KATIE S. COX




March 2006 – October 2010
Senior Supervisory Financial Analyst
Position required leadership skills to coordinate the review by Board and Reserve Bank staff and other
banking regulators of complex mergers and acquisition proposals. Served as analyst for several high
profile, market disruption-related proposals filed during the height of the financial crisis. These included
the proposals to convert to bank holding companies by Ally (formerly GMAC) and Goldman Sachs, the
acquisition of Merrill Lynch by Bank of America, and the acquisition of Countrywide by Bank of America.
Developed and presented briefings for policy setting proposals to the Governors of the Board, including
several Chairs of the Board.
March 2001 – February 2006
Supervisory Financial Analyst
Performed financial and managerial reviews of proposals by domestic banks, foreign banks, and
nonbanks that raised material supervisory, financial, and/or policy issues. Coordinated these reviews
with staff of the Board, the Reserve Banks, and other regulatory agencies. Identified issues presented by
such proposals and recommended appropriate solutions consistent with Federal Reserve System policies,
procedures, and guidelines. Developed written and/or oral presentations to the Governors of the Board
to articulate Board staff’s recommendations regarding the appropriate action on such banking
proposals. Served as the Board’s primary analyst to review applications involving asset quality,
securitization, and Regulation W issues.

June 1999 – February 2001
Senior Financial Analyst
Performed financial and managerial analysis of domestic and foreign bank proposals that raised
supervisory, financial, or policy issues. Developed written analysis and recommendations for immediate
management.
U.S. Air Force Audit Agency1
August 1997 – May 1999
Auditor
Performed audits of U.S. Air Force entities. Scope of work included researching prior audits, reviewing
pertinent regulations and directives, and determining audit objectives. Developed audit programs with
specific audit steps to achieve the audit objectives. Conducted audits that incorporated sampling
techniques – both random and judgmental, reviewed internal controls, and determined compliance with
applicable regulations and U.S. Air Force directives. Developed recommendations for addressing
identified weaknesses. Presented findings and recommendations to military commanders in oral and
written form.

Federal Reserve System

April 1993 – June 1995
Commissioned Federal Bank Examiner
Conducted examinations of commercial banks, foreign branches, Edge Act Corporations, and bank holding
companies. Directly supervised examination teams. Scope of work encompassed evaluating internal
audit systems and corporate governance, performing loan review, and evaluating the condition of the
entities as related to capital, asset quality, management, earnings, and liquidity. Reported findings to

1 I temporarily left the Federal Reserve System in 1995 in order to accompany my husband on his active

duty U.S. Air Force tours in Ramstein, Germany and San Antonio, Texas. I was not employed for the first
two years of his tour in Germany.
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                                             KATIE S. COX

management of the banking entities and the Federal Reserve System in written and oral form. Served as
an instructor for the Federal Reserve System’s core bank examiner school.

August 1990 – March 1993
Associate Bank Examiner
Performed loan review and served as examiner-in-charge of community banks and bank holding
companies. Served as assistant-in-charge of large and/or problematic institutions; primary function was
to assess adequacy of internal control procedures. Provided on the job training to less experienced
examiners.


January 1988 – July 1990
Assistant Bank Examiner
Evaluated the audit functions and assessed the overall system of internal controls of commercial banks,
foreign branches, and Edge Act Corporations. Verified financial reports submitted to the Federal Reserve
and determined compliance with various federal and state banking laws.

November 1985 – December 1987
Financial Analyst
Analyzed proposals submitted for bank holding company formations, acquisitions, and mergers involving
financial institutions with assets between $20 million and $600 million. Prepared written summary of
findings, including detailed financial and managerial analysis of bank holding companies and banks for
senior Reserve Bank management.

Education & Certifications
Central High School, Woodstock, Virginia, High School Diploma, June 1981

University of Virginia, Charlottesville, Virginia, Bachelor of Science in Commerce, May 1985
Concentration in Finance with additional course working in accounting (21 hours)

Kansas State University, Manhattan, Kansas, Agricultural Lending School

Commissioned Federal Bank Examiner, Federal Reserve System, April 1993




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                                          KATIE S. COX


Board Experience
Board member, Virginia State Golf Association, Richmond, VA January 2022 - Present
Finance Committee, Mount Vernon Country Club, Alexandria, VA January 2008 - December 2018
Board member and Treasurer, Girl Scouts Overseas, Ramstein, Germany July 1995 - July 1997

Other Interests
Golf:
2011 USGA Women’s Mid-Amateur Competitor
2013 USGA Women’s Senior Amateur Competitor
4-time Club Champion - Mount Vernon Country Club, Alexandria, VA
1-time Club Champion - Fort Belvoir Golf Club, Alexandria, VA
3-time Club Champion - Spotswood Country Club, Harrisonburg, VA
8-time member of winning team - Virginia Women’s State Team Matches, Mount Vernon Country Club
2022 Ranked #5 VSGA Senior Women’s Golfer
2022 Women’s District of Columbia Golf Association’s Senior Champion




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